Case 1:20-cv-00248-NYW Document 1 Filed 01/30/20 USDC Colorado Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                    DENVER DIVISION


 Saros Licensing LLC,                                            Case No. ________________
           Plaintiff,                                            Patent Case
           v.                                                    Jury Trial Demanded
 Vaisala, Inc.,

           Defendant.



                              COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Saros Licensing LLC ("Saros"), through its attorneys, complains of Vaisala, Inc.

("Vaisala"), and alleges the following:

                                                   PARTIES

         1.       Plaintiff Saros Licensing LLC is a corporation organized and existing under the

laws of Texas that maintains its principal place of business at 15922 Eldorado Pkwy, Suite 500-

1640, Frisco, TX 75035.

         2.       Defendant Vaisala, Inc. is a corporation organized and existing under the laws of

Delaware that maintains an established place of business at 194 S Taylor Ave, Louisville, CO

80027.

                                                JURISDICTION

         3.       This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

         4.       This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).



                                                   1
Case 1:20-cv-00248-NYW Document 1 Filed 01/30/20 USDC Colorado Page 2 of 4




        5.      This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                                VENUE

        6.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

committed acts of patent infringement in this District, and has an established place of business in

this District. In addition, Saros has suffered harm in this district.

                                           PATENT-IN-SUIT

        7.      Saros is the assignee of all right, title and interest in United States Patent No.

6,480,753 (the "'753 Patent"); (the "Patent-in-Suit"); including all rights to enforce and prosecute

actions for infringement and to collect damages for all relevant times against infringers of the

Patent-in-Suit. Accordingly, Saros possesses the exclusive right and standing to prosecute the

present action for infringement of the Patent-in-Suit by Defendant.

                                           The '753 Patent

        8.      The '753 Patent is entitled "Communications, particularly in the domestic

environment," and issued 11/12/2002. The application leading to the '753 Patent was filed on

9/2/1999. A true and correct copy of the '753 Patent is attached hereto as Exhibit 1 and

incorporated herein by reference.

        9.      The '753 Patent is valid and enforceable.

                          COUNT 1: INFRINGEMENT OF THE '753 PATENT

        10.     Saros incorporates the above paragraphs herein by reference.

        11.     Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the '753 Patent in at least this District by making, using, offering to sell, selling




                                                   2
Case 1:20-cv-00248-NYW Document 1 Filed 01/30/20 USDC Colorado Page 3 of 4




and/or importing, without limitation, at least the Vaisala products identified in the charts

incorporated into this Count below (among the "Exemplary Vaisala Products") that infringe at

least the exemplary claims of the '753 Patent also identified in the charts incorporated into this

Count below (the "Exemplary '753 Patent Claims") literally or by the doctrine of equivalents. On

information and belief, numerous other devices that infringe the claims of the '753 Patent have

been made, used, sold, imported, and offered for sale by Defendant and/or its customers.

        12.     Exhibit 2 includes charts comparing the Exemplary '753 Patent Claims to the

Exemplary Vaisala Products. As set forth in these charts, the Exemplary Vaisala Products

practice the technology claimed by the '753 Patent. Accordingly, the Exemplary Vaisala

Products incorporated in these charts satisfy all elements of the Exemplary '753 Patent Claims.

        13.     Saros therefore incorporates by reference in its allegations herein the claim charts

of Exhibit 2.

        14.     Saros is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                                 JURY DEMAND

        15.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Saros respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

WHEREFORE, Saros respectfully requests the following relief:

       A.       A judgment that the '753 Patent is valid and enforceable;

       B.       A judgment that Defendant has infringed, contributorily infringed, and/or induced

                infringement of one or more claims of the '753 Patent;

       C.       An accounting of all damages not presented at trial;




                                                     3
Case 1:20-cv-00248-NYW Document 1 Filed 01/30/20 USDC Colorado Page 4 of 4




     D.       A judgment that awards Saros all appropriate damages under 35 U.S.C. § 284 for

              Defendant's past infringement, including pre- or post-judgment interest, costs, and

              disbursements as justified under 35 U.S.C. § 284 and, if necessary, to adequately

              compensate Saros for Defendant's infringement, an accounting:

            i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                 and that Saros be awarded its reasonable attorneys' fees against Defendant that

                 it incurs in prosecuting this action;

           ii.   that Saros be awarded costs, and expenses that it incurs in prosecuting this

                 action; and

          iii.   that Saros be awarded such further relief at law or in equity as the Court deems

                 just and proper.



Dated: January 30, 2020             Respectfully submitted,

                                    /s/ Isaac Rabicoff
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